         Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 1 of 23




                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


    LA UNIÓN DEL PUEBLO ENTERO, et al.,                   §
                 Plaintiffs,                              §
                                                          §
    v.                                                    §                 5:21-CV-0844-XR
                                                          §                [Consolidated Cases]
    GREGORY W. ABBOTT, et al.,                            §
               Defendants.                                §


               ORDER ON RENEWED MOTION TO STRIKE DECLARATION

         On this date, the Court considered the LUPE Plaintiffs’ 1 motion to strike (ECF No. 992)

the declaration of Jonathan White, State Defendants’ response (ECF No. 1078), and LUPE

Plaintiffs’ reply (ECF No. 1126). Ater careful consideration, the motion is GRANTED.

                                              BACKGROUND

         In August 2021, the Texas Legislature passed Senate Bill 1 (“S.B. 1”), which amended

various provisions of the Texas Election Code pertaining to voter registration, voting by mail, poll

watchers, and more. Numerous parties then began filing complaints against various Texas state

officials (the “State Defendants”) and local elections administrators in this district, challenging

certain provisions of S.B. 1 under the United States Constitution and various federal civil rights

statutes. In the interest of judicial economy, these were consolidated under the above-captioned

case, as it was first filed. 2



1
 The “LUPE Plaintiffs” include La Unión del Pueblo Entero, Friendship-West Baptist Church, Southwest Voter
Registration Education Project, Texas Impact, Mexican American Bar Association of Texas, Texas Hispanics
Organized for Political Education, Jolt Action, William C. Velasquez Institute, FIEL Houston Inc., and James Lewin.
2
  See ECF No. 31 (consolidating OCA-Greater Houston v. Esparza, No. 1:21-cv-780 (W.D. Tex. 2021); Houston
Justice v. Abbott, No. 5:21- cv-848 (W.D. Tex. 2021); LULAC Texas v. Esparza, No. 1:21-cv-786 (W.D. Tex. 2021)
and Mi Familia Vota v. Abbott, No. 5: 21-cv-920 (W.D. Tex. 2021) under La Unión del Pueblo Entero v. Abbott, No.
5:21-cv-844 (W.D. Tex. 2021); United States v. Texas, No. 5:21-cv-1085 (W.D. Tex. 2021), ECF No. 13.
         Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 2 of 23




        In May 2023, the United States and the OCA-GH Plaintiffs 3 filed motions for summary

judgment, arguing that S.B. 1’s identification number requirement for mail-in voting violated the

“Materiality Provision” of the Civil Rights Act of 1964, now codified under 52 U.S.C. §

10101(a)(2) (“Section 101”). See ECF Nos. 609, 612.

        In support of their responses in opposition to the motions filed in June 2023, the State

Defendants proffered a declaration by Jonathan White, the former Division Chief of the Election

Integrity Division of the Texas Office of the Attorney General (“OAG”), who claimed to have

reviewed hundreds of investigations and handled approximately 100 prosecutions. See ECF No.

645-5 at 14–23 (“White Declaration”); ECF No. 646-3 at 29–38 (same document). The White

Declaration purported to provide evidence on three topics: (1) the existence, prevalence and

techniques of various types of voter fraud, including “mail ballot fraud and voter assistance fraud

schemes”; (2) the inability of current investigative techniques to address voter fraud; and (3) the

ways in which S.B. 1 helps fight voter fraud. See id. The Declaration, produced long after the close

of discovery (and executed two days before response briefs were filed), relied on selectively

disclosed information from investigative and prosecution files and out-of-court statements by other

individuals at the OAG—all information that the State has withheld under claims of privilege and,

in many instances, failed even to identify.

        From the start of discovery, the State Defendants withheld, on privilege grounds,

documents containing non-public information related to voter fraud investigations and

prosecutions. For example, both the OAG and the Secretary of State (“SOS”) objected to the

Private Plaintiffs’ requests for “[a]ll documents and communications discussing actual or alleged

illegal voting, election fraud, or other criminal conduct in connection with” all methods of voting


3
 The “OCA Plaintiffs” include Plaintiffs OCA-Greater Houston, League of Women Voters of Texas, and REVUP-
Texas.


                                                   2
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 3 of 23




and voter assistance. See ECF No. 992-3 (OAG); ECF No. 992-16 (OAG); ECF No. 992-20 (SOS).

The State Defendants also failed to identify on its privilege logs responsive documents that

contained such information, including investigative files and reports that Mr. White would have

considered in determining whether to refer a case for prosecution. See ECF No. 992-14 at 54

(listing two documents withheld by OAG custodians); see also ECF No. 992-24, White Dep. at

116:20–117:4 (acknowledging that “there are investigative files in the Election Integrity Division

that would be relevant to voter fraud investigations but” that “are not on [the] privilege log.”).

       Over the course of discovery, the State Defendants produced fewer than 500 documents

associated with OAG custodians, and identified about 180 privileged documents held by OAG.

Two of the documents produced are investigation files; both relate to post-S.B. 1 allegations of

poll watcher obstruction by election officials. The rest of the produced documents are largely

public information, including news articles, copies of public indictments or plea agreements,

public legislative transcripts, complaints of purported election irregularities submitted to the SOS

and OAG and SOS advisories to election officials.

       In depositions, the State Defendants objected to, and instructed witnesses not to answer,

questions seeking nonpublic information related to voter fraud investigations and prosecutions. On

April 27, 2022, Plaintiffs deposed Mr. White in his personal capacity. See ECF No. 992-10, White

Dep. Following numerous objections by OAG counsel, the parties stipulated that OAG counsel

could have a running objection and OAG counsel “instruct[ed]” Mr. White “not to provide any

answers that would encroach on attorney client, attorney work-product, legislative or investigative

privileges, or any other applicable privilege, including deliberative process or any others that ...

could conceivably be implicated by the questions.” Id. at 43:20-44:21. OAG counsel asserted

privilege objections 29 times over the course of the deposition and Mr. White censored himself




                                                  3
          Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 4 of 23




accordingly. On May 5, 2022, Mr. White was deposed in his capacity as a representative of the

Office of the Attorney General. See ECF No. 992-11, White Dep. Again, OAG counsel lodged

similar privilege objections and, in several instances, instructed Mr. White not to answer. See

generally id. (listing 87 objections). And, as in his prior deposition, Mr. White followed his

counsel’s instruction and refrained from providing non-public information regarding

investigations and prosecutions.

         In response to Mr. White’s testimony, the LUPE Plaintiffs raised sword-and-shield

concerns in their briefing on a pending motion to compel documents from the SOS and OAG. ECF

No. 655. The United States echoed these concerns in a notice of potential waiver of privilege filed

on July 10, 2023. See ECF No. 656. The LUPE Plaintiffs again presented their sword-and-shield

arguments to the Court at a hearing on July 11, 2023, at which point the Court suggested that the

State Defendants make Mr. White available for a third deposition. ECF No. 661, July 11, 2023,

Hr’g Tr. at 45:20–22.

         Mr. White was redeposed on August 11, 2023. Although the State Defendants agreed that

Mr. White could be asked questions about any closed investigations and cases of voter fraud, the

State Defendants never identified any such investigations, nor did they produce any investigatory

materials before the deposition that would have allowed Plaintiffs’ counsel to prepare questions

about closed matters.

         On August 17, 2023, the Court issued a “Summary Ruling” granting summary judgment

on the substance of the United States’ and the OCA Plaintiffs’ materiality claims. 4 ECF No. 724


4
  After the motions for summary judgment were fully briefed, the United States, the OCA Plaintiffs, State Defendants,
and Intervenor Defendants—the only parties to a Section 101 materiality claim—submitted an advisory to the Court,
noting that cross-motions had been filed. See ECF No. 701 at 1; see also ECF No. 608 at 6–15 (Intervenor Defendants’
motion for summary judgment, arguing that S.B. 1 complied with the Materiality Provision). The parties agreed that
the Section 101 claims were “likely resolvable via summary judgment” and recommended that the Court issue a
preliminary ruling as a means of streamlining the upcoming trial, even if the Court had not yet finalized its opinion
and order. Id.


                                                         4
          Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 5 of 23




at 1. The Court specified that “[a] written order awarding the declaratory and injunctive relief . . .

requested” by the United States and the OCA Plaintiffs “will follow.” Id. at 6.

         Two weeks later, the LUPE Plaintiffs filed a motion to strike the White Declaration and

motion in limine seeking to limit testimony relating to investigations and prosecutions of alleged

voter fraud to publicly available information. ECF No. 761. The LUPE Plaintiffs argued that,

because the State Defendants limited Mr. White’s deposition testimony to publicly available

information about alleged voter fraud, under the sword-and-shield doctrine, he should not be

permitted to testify outside those bounds in his Declaration. They also asserted that the

Declaration’s lay opinion testimony was inadmissible because it was not based on Mr. White’s

personal knowledge. And to the extent that the State Defendants proffered the opinions as expert

testimony, the LUPE Plaintiffs pointed out Mr. White was never designated as an expert and that

his opinions could not otherwise satisfy the reliability standards for expert testimony set forth in

reliable under Rule 702 and the analytical framework of Daubert v. Merrell Dow Pharms., Inc.,

509 U.S. 579 (1993). The LUPE Plaintiffs also asserted that the White Declaration contained

impermissible legal conclusions and inadmissible summary evidence presented without any

supporting information.

         The bench trial of Plaintiffs’ remaining claims began on September 11, 2023, and

continued until October 20, 2023. 5 On September 20, after oral argument, the Court granted a

motion in limine, holding that Mr. White’s trial testimony would be limited to public information

and documents that were produced to Plaintiffs in discovery. Tr. at 1459:24–60:13. However,

given representations by the State Defendants and Intervenor Defendants that they did not intend


5
 The parties agreed before trial that the record would remain open with respect to Plaintiffs’ claims alleging intentional
discrimination pending the Fifth Circuit’s resolution of an appeal of an order in this case addressing the legislative
privilege. See ECF No. 753 at 2 n.2. Because that appeal was not resolved until March 2024—months after the first
phase of trial ended in October 2023—the trial record remains open with respect those claims. See ECF No. 941.


                                                            5
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 6 of 23




to rely on the White Declaration, the Court denied as moot the LUPE Plaintiffs’ request to strike

the Declaration. Id. The State Defendants called Mr. White to the stand on October 16, 2023, where

he testified in accordance with the Court’s ruling. The State Defendants then made an offer of

proof of the remaining facts they otherwise would have included in their case-in-chief.

       In November 2023, following the close of evidence but before the filing of the parties’

proposed findings of fact and conclusions of law and closing arguments, the Court issued its

memorandum opinion granting summary judgment in favor of the United States and the OCA

Plaintiffs’ as to their Section 101 claims. La Union del Pueblo Entero v. Abbott, No. 5:21-CV-

0844-XR, 2023 WL 8263348 (W.D. Tex. Nov. 29, 2023) [hereinafter “LUPE”].

       The State Defendants and Intervenor Defendants filed notices of appeal on December 1,

2023. See ECF Nos. 823, 827. On appeal, the State Defendants and Intervenor-Defendants claimed

that the record on appeal should include the transcripts, exhibits, and other filings from the trial.

The United States maintained that the record should be limited to what was before the Court on

August 17, 2023, when the Court issued its summary ruling, and filed a motion asking the motions

panel to prohibit the merits panel from considering evidence introduced at trial. The Intervenor

Defendants opposed the motion, arguing that it was both flawed and premature since the merits

panel had discretion over the evidence it hears. Ultimately, the Fifth Circuit denied the United

States’ motion.

       Following trial, the State Defendants and Intervenor Defendants cited and relied on the

White Declaration in six paragraphs of their proposed findings of fact filed in January 2024. See

ECF No. 861 ¶¶ 806–09, 811–12. Although the State Defendants offered to retract—and did in

fact withdraw—the relevant portions of its proposed findings of fact, the LUPE Plaintiffs remained

concerned that having the Declaration remain part of the Court’s record “open[ed] the door to




                                                 6
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 7 of 23




either inadvertent or purposeful reliance either here or on appeal.” ECF No. 1033, Feb. 13, 2024,

Tr. at 253:22–25; see ECF No. 1018 (withdrawing reliance for State Defendants only).

       Accordingly, on February 20, 2024, the LUPE Plaintiffs filed a renewed motion to strike

the White Declaration. See ECF No. 992. In their response in opposition to the motion, the State

Defendants argue that the LUPE Plaintiffs do not have “standing” to contest the White Declaration

because they did not participate in the underlying summary judgment briefing. See ECF No. 1078

at 3. The State Defendants also assert that, at this stage of the litigation, the Declaration is “moot”

and that the district court is not the appropriate venue by which to obtain relief. The Court

addresses each argument in turn before reaching the merits of the motion to strike.

                                           DISCUSSION

I.     Procedural Objections to the Motion: Standing, Mootness, and Ripeness

       To begin, the Court concludes that the LUPE Plaintiffs have a sufficiently concrete interest

in the contested portions of the White Declaration to file this motion, even though they did not

participate in the summary judgment briefing. Contrary to the accusations in the State Defendants’

response, see ECF No. 1078 at 9, the LUPE Plaintiffs have confirmed that they do not seek to

prevent the Fifth Circuit from relying on the White Declaration when it considers the Court’s

November 2023 summary judgment order, see ECF No. 1126 at 4 n.2. Indeed, the LUPE Plaintiffs

do not have a stake in that appeal because they did not assert a claim under the Materiality

Provision.

       Ironically, the Court did not rely on the White Declaration in its summary ruling or

memorandum opinion on the parties cross-motions for summary judgment because its contents—

addressing the policy justifications for S.B. 1’s identification number-matching requirement—

were entirely irrelevant to the analysis under the Materiality Provision:




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          Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 8 of 23




             Unlike many other causes of action in the voting-rights context, the
             Materiality Provision is not a burden-interest balancing statute. Materiality
             Provision violations are prohibited no matter their policy aim.

LUPE, 2023 WL 8263348, at *8; see also Migliori v. Cohen, 36 F.4th 153, 163 (3d Cir. 2022),

(“[W]hatever sort of fraud deterrence or prevention [a] requirement may serve,” it is irrelevant

under Materiality Provision if it is not material to determining voter qualifications), judgment

vacated as moot by Ritter v. Migliori, 142 S. Ct. 1824 (Mem) (2022).

         While the LUPE Plaintiffs did not assert a claim under the Materiality Provision, they have,

however, asserted several causes of action that, unlike Section 101 challenges, will require the

Court to weigh the burden that the challenged provisions of S.B. 1 impose on voters against the

precise state interests that purportedly justify the burden. See, e.g., ECF No. 208 ¶¶ 218–29

(challenging number-matching requirement, assistance provisions, and in-person canvassing

restrictions as undue burdens on the right to vote under Anderson-Burdick); 6 id. ¶¶ 255–65

(challenging assistance provisions and in-person canvassing restrictions under Section 2 of the

Voting Rights Act). 7 Indeed, by citing the White Declaration in their proposed findings of fact, the

State Defendants and Intervenor Defendants implicitly recognized its relevance to claims beyond

the Section 101 challenges addressed in the summary judgment briefing.

         Although they take competing views of the status of the White Declaration in the record,

neither the State Defendants nor the Intervenor Defendants have agreed to refrain from relying on

the White Declaration in an appeal of a ruling by this Court on the LUPE Plaintiffs’ claims.


6
  Burdick v. Takushi, 504 U.S. 428, 433–34 (1992) (quoting Anderson v. Celebrezze, 460 U.S. 780, 788 (1983)) (“A
court considering a challenge to a state election law must weigh ‘the character and magnitude of the asserted injury to
the rights protected by the First and Fourteenth Amendments that the plaintiff seeks to vindicate’ against ‘the precise
interests put forward by the State as justifications for the burden imposed by its rule,’ taking into consideration ‘the
extent to which those interests make it necessary to burden the plaintiff's rights.’”).
7
 Brnovich v. Democratic Nat’l Comm’n, 141 S. Ct. 2321, 2338 (2021) (in determining whether voting is “equally
open” under Section 2 of the VRA, courts should consider, among other things, the size of the burden imposed by a
challenged voting rule and the strength of the state interests served by the rule).


                                                           8
            Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 9 of 23




           The State Defendants contend that the purpose of the White Declaration “expired” when

the Court granted summary judgment, that the White Declaration is not part of the “trial record,”

and that Mr. White’s “trial testimony represents the best evidence for factual disputes going

forward.” ECF No. 1078 at 1. Given their position that the parties should rely on White’s trial

testimony going forward, the State Defendants fail to explain how they would be prejudiced by

the removal of the “expired” declaration from the record.

           Meanwhile, at closing argument, the Intervenor Defendants declined to withdraw their

post-trial reliance on the White Declaration and held open the possibility of relying on the White

Declaration in “some other appeal.” 8 Moreover, the Intervenor Defendants recently argued to the

Fifth Circuit that the summary judgment record in this case includes the trial record, since trial

evidence is “record evidence.” See United States v. Paxton, No. 23-50885 (5th Cir.) ECF No. 110-

1 at 6–7 (arguing that the United States, by seeking to limit the record on appeal to the summary

judgment record, has wrongly and “preemptively declared a category of record evidence outside

the record on appeal[.]”). As the LUPE Plaintiffs’ correctly point out, this logic supports the

converse argument that the record on appeal following trial the LUPE Plaintiffs’ remaining claims

includes the “record evidence” from the summary judgment proceedings.




8
    Counsel for Intervenor Defendants stated:

               If there is some dispute as to whether something filed in this Court is part of the record on
               appeal or can be considered by the Fifth Circuit on appeal in the materiality provision
               appeal or some other appeal, that’s a question for the Fifth Circuit. . . And whether there’s
               going to be a dispute about the content of the appellate record in the materiality provision
               appeal or some other appeal is just not ripe yet. We don’t know. We haven’t briefed that
               appeal. We don’t know what we’re going to point to or rely upon yet, in terms of our
               appellate arguments to the Fifth Circuit. So on that score, both for the materiality provision
               appeal and for this current motion or agreement . . . there’s nothing this Court can do to
               bind or pre-decide that issue for the Fifth Circuit. That would all be for the Fifth Circuit to
               decide in due course.

ECF No. 1033, Feb. 13, 2024, Tr. at 255:15–56:6 (emphasis added).


                                                             9
         Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 10 of 23




         In short, the State Defendants argue that the LUPE Plaintiffs’ motion is “moot” because

the Declaration’s purpose expired with the Court’s summary judgment ruling in August 2023 and

is not part of the trial record. At the same time, the Intervenor Defendants insist that questions

about the content of the trial record are not yet “ripe” because the parties have yet to file their

briefing in any appeal of the Courts’ rulings on the Private Parties’ remaining claims. Defendants

cannot have it both ways.

         The State Defendants argue that the LUPE Plaintiffs must file a motion with the merits

panel after the State Defendants and Intervenor Defendants file their opening brief on appeal. 9 The

Intervenor Defendants’ assertion that the Court’s exclusion of the White Declaration would not

affect the record on appeal, and the State Defendants’ similar suggestion that “[t]he rules do not

permit either LUPE Plaintiffs or this Court to curate what documents and evidence appear before

the Fifth Circuit” ECF No. 1078 at 2, are misplaced at this stage of the proceedings. The Court has

not issued any final rulings on the claims presented by the LUPE Plaintiffs at trial. It follows that

there is no pending appeal of the Court’s rulings on the LUPE Plaintiffs’ claims and, accordingly,

no appellate record.

         The notion that the Court lacks the authority to manage the record evidence in this case

now based on potential appeals of future orders is nonsensical. 10 Although the Fifth Circuit will,



9
  The Court observes that the record unquestionably remains open with respect to the LUPE Plaintiffs’ claims for
intentional discrimination under the Fourteenth and Fifteenth Amendments. See ECF No. 208 at ¶¶ 230–54
(challenging number-matching requirements, assistance provisions, and in-person canvassing restrictions as
intentionally discriminatory); see also ECF No. 941 at 3 (“The parties do not intend to present argument regarding
any private plaintiffs’ Fourteenth Amendment, Fifteenth Amendment, or Voting Right Act § 2 intentional
discrimination claims as the record is not yet complete on those claims.). Thus, even if the Fifth Circuit ultimately
considers the White Declaration in any future appeals of the Court’s rulings on the LUPE Plaintiff’s disparate-impact
claims—the Court must decide whether the Declaration belongs in the “record evidence” to the extent that it bears on
the LUPE Plaintiffs’ remaining claims for alleging intentional discrimination.
10
  To the extent State Defendants argue that the Court’s August 17, 2023 Summary Ruling closed the time period in
which LUPE Plaintiffs could move to strike the White Declaration (ECF No. 1078 at 10), that argument is contradicted
by the Intervenor Defendants’ argument that summary judgment proceedings extended through November 29, 2023.


                                                        10
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 11 of 23




in the event of such an appeal, receive documents filed in this case as part of the record on appeal,

the scope of the appellate record will be defined according to this Court’s evidentiary rulings:

evidence stricken or excluded by this Court will not be considered by the Fifth Circuit. See Mun.

Employees' Ret. Sys. of Mich. v. Pier 1 Imports, Inc., 935 F.3d 424, 436 (5th Cir. 2019) (“Because

these “red flags” were set out in an expert report that the district court struck, we cannot consider

them.”) (citing Munoz v. Orr, 200 F.3d 291, 303 (5th Cir. 2000).

       No matter how the appeal of the Court’s summary judgment ruling is resolved, the White

Declaration remains in the “the original papers and exhibits filed in the district court” (FED. R.

APP. P. 10(a)(1)) and will be transmitted to the Fifth Circuit in any subsequent appeal. Without an

order striking the White Declaration, Defendants will be able to argue that the Fifth Circuit should

consider the Declaration in any subsequent appeal. Of course, Defendants may choose to appeal

the Court’s evidentiary rulings, but the mere possibility of a theoretical future appeal cannot

deprive the Court of authority to make such rulings in the first instance.

II.    Motion to Strike

       The State Defendants’ response relies exclusively on their procedural objections to the

motion to strike and does not reach the merits of the motion. See generally ECF No. 1078. Even

so, the Court will address the substance of the LUPE Plaintiffs’ arguments in the interest of clarity.

       A.      Legal Standards

               1. Federal Rule of Civil Procedure Rule 37(c)

       Under Rule 37(c)(1) of the Federal Rules of Civil Procedure, “[i]f a party fails to provide

information or identify a witness as required by Rule 26(a) or (e), the party is not allowed to use

that information or witness to supply evidence on a motion, at a hearing, or at a trial, unless the

failure was substantially justified or is harmless.’” FED. R. CIV. P. 37(c)(1). “[T]he language of




                                                 11
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 12 of 23




Rule 37 does not require a motion to compel before its exclusion sanction may apply.” Hovanec

v. Miller, 331 F.R.D. 624, 634 (W.D. Tex. 2019).

       Rule 26(a) requires a party to provide to the other parties “a copy—or a description by

category and location—of all documents, electronically stored information, and tangible things

that the disclosing party has in its possession, custody, or control and may use to support its claims

or defenses, unless the use would be solely for impeachment.” FED. R. CIV. P. 26(a)(1)(A)(ii).

       Rule 26(e), in turn, requires that a party who has responded to an interrogatory or request

for production must supplement or correct its disclosure or response “in a timely manner if the

party learns that in some material respect the disclosure or response is incomplete or incorrect, and

if the additional or corrective information has not otherwise been made known to the other parties

during the discovery process or in writing.” FED. R. CIV. P.26(e)(1)(A).

       “Generally, the burden of proving substantial justification or harmlessness is on the

nondisclosing party.” Hovanec, 331 F.R.D. at 637. “To determine whether a failure to disclose

was harmless, the Court evaluates four factors: (1) the explanation for the failure to disclose; (2)

the importance of the information; (3) potential prejudice to the opposing party of including the

evidence; and (4) the availability of a continuance to cure such prejudice.” Id. (citing CQ, Inc. v.

TXU Min. Co., L.P., 565 F.3d 268, 280 (5th Cir. 2009)). “Substantial justification for the failure

to make a required disclosure has been regarded as justification to a degree that could satisfy a

reasonable person that parties could differ as to whether the party was required to comply with the

disclosure obligation.” Olivarez v. GEO Grp., Inc., 844 F.3d 200, 205 (5th Cir. 2016) (cleaned up).

“The court, on motion and after giving an opportunity to be heard,” “may order payment of the

reasonable expenses, including attorney’s fees, caused by the failure” of the nondisclosing party.

FED. R. CIV. P. 37(c)(1)(A).




                                                 12
       Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 13 of 23




               2.      Federal Rule of Civil Procedure 56

       Federal Rule of Civil Procedure 56 requires that “[a]n affidavit or declaration used to . . .

oppose a motion” for summary judgment “must be made on personal knowledge, set out facts that

would be admissible in evidence, and show that the affiant or declarant is competent to testify on

the matters stated.” FED. R. CIV. P. 56(c)(4). As such, “[t]he substance of an affidavit must

demonstrate the affiant has personal knowledge of the facts contained therein.” Wojciechowski v.

Nat’l Oilwell Varco, L.P., 763 F. Supp. 2d 832, 846 (S.D. Tex. 2011). “A party may object that

the material cited to support or dispute a fact cannot be presented in a form that would be

admissible in evidence.” FED. R. CIV. P. 56(c)(2). To that end, if an “affidavit fails to meet any of

the procedural requirements” under Rule 56(c)(4), “a motion to strike that sets forth specific

objections is the proper method” for a party “to challenge the affidavit.” See Wojciechowski, 763

F. Supp. 2d at 846.

       B.      Analysis

               1.      Sword-and-Shield Objections

       The testimony in the White Declaration is subject to exclusion for the same sword-and-

shield reasons as those relied upon by the Court when it excluded certain testimony by Jonathan

White at trial. Because the Court limited Mr. White’s trial testimony to documents and public

information previously disclosed to Plaintiffs, and excluded trial testimony by Mr. White on

nonpublic information related to voter fraud investigations (Tr. 1460:1–13), it is appropriate to

strike those portions of the White Declaration that contain the same, previously excluded

testimony.

       Under the sword-and-shield doctrine, “a party may not use privileged information both

offensively and defensively at the same time.” Willy v. Admin. Rev. Bd., 423 F.3d 483, 497 (5th




                                                 13
         Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 14 of 23




Cir. 2005); Nguyen v. Excel Corp., 197 F.3d 200, 207 n.18 (5th Cir. 1999) (emphasizing “a client’s

inability to, at once, employ the [attorney-client] privilege as both a sword and shield.”). As the

Fifth Circuit has emphasized, allowing a party to do so “would be manifestly unfair to the opposing

party.” Conkling v. Turner, 883 F.2d 431, 434 (5th Cir. 1989). 11 “When a party puts privileged

matter in issue as evidence in a case, it thereby waives the privilege as to all related privileged

matters on the same subject.” See 8 Charles Wright & Arthur R. Miller, Federal Practice &

Procedure § 2016.2 (3d ed. 2023); see also Willy, 423 F.3d at 497; Doe 1 v. Baylor Univ., 320

F.R.D. 430, 439 (W.D. Tex. 2017).

         Although the State withheld all but two investigative reports, as well as documents related

to its investigations and prosecutions, Mr. White testified that he based his declaration testimony

on those same records. See ECF No. 666-2, Supplemental White Decl. (July 14, 2023) ¶ 6 (stating

that the paragraphs in his original Declaration addressing his “understanding” of ballot harvesting

was gained through his “years of criminal investigative experience” and mentioned public

information about the ongoing prosecution of Zul Mohamed “[a]s an illustration”).

         Similarly, the White Declaration offers detailed descriptions of the alleged techniques used

to provide fraudulent voter assistance—by approaching voters, gaining their trust, and voting their

ballots. White Decl. ¶¶ 8, 10, 11, 14, 15. When asked to describe a particular example of illegal

assistance in his April 2022 deposition, however, Mr. White first refused to answer; OAG counsel

then objected and direct him to answer “to the extent that there’s anything in the public record

about the case.” ECF No. 992-10, White Dep. at 185:14–187:23. Mr. White then identified a case

of alleged voter registration fraud and explained, “The case that came to mind does not actually



11
  The Court observes that it would also be “manifestly unfair” to allow Defendants to rely on the exclusion of the
Declaration from the trial record as a shield to the LUPE Plaintiff’s motion, yet allow the Declaration’s existence in
the “record evidence” as a sword for a future appeal of the LUPE Plaintiffs’ claims.


                                                         14
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 15 of 23




involve ballot assistance, it involved voter registration, and so it may not be directly applicable to

your -- your question, and I think it may not. But if something is in the public record, I would make

that available to you.” Id. at 188:2–16. Mr. White acknowledged that he could not point to any

prosecutions for illegal assistance in the polling place. Id. at 75:13–76:14.

       In short, the State Defendants have failed to produce or identify the evidence that forms

the basis of Mr. White’s testimony in the Declaration. The State should have disclosed these

records initially under Rule 26(a) and then supplemented its responses in accordance with Rule

26(e). Given the State Defendants’ affirmative use of information it had withheld or otherwise

failed to produce, there is “no factual or legal basis for its position that the alleged burden of”

disclosure could “excuse its non-compliance with its obligations under Rule 26(a) and Rule 26(e).”

Flores v. AT&T Corp., No. 3:17-cv-00318-DB-ATB, 2019 WL 2746774, at *8 (W.D. Tex. Mar.

27, 2019). The LUPE Plaintiffs will be significantly prejudiced in any potential appeal because

they have not had the opportunity to review, much less challenge, information that informed Mr.

White’s declaration. Regardless of the importance of the information withheld—which is difficult

to assess without any visibility into its contents—the LUPE Plaintiffs have no opportunity to cure

the prejudice with respect to their claims that have already been fully tried.

       Accordingly, under Rule 37(c), the presumptive sanction of exclusion applies, see Honey-

Love v. United States, 664 F. App’x 358, 361–62 (5th Cir. 2016), and the relevant portions of the

White Declaration must be stricken from the record. See ECF No. 992-1 (Redacted Declaration).

               2.      Objections to Inadmissible Summary Evidence

       The LUPE Plaintiffs object that the White Declaration constitutes inadmissible summary

testimony in violation of Federal Rule of Evidence 1006, which provides:

           The proponent may use a summary, chart, or calculation to prove the
           content of voluminous writings, recordings, or photographs that cannot be



                                                 15
         Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 16 of 23




             conveniently examined in court [, but] . . . must make the originals or
             duplicates available for examination or copying, or both, by other parties at
             a reasonable time and place.

FED. R. EVID. 1006. To be admissible, summary testimony must be supported with evidence that

“[has] been ‘presented previously to the [factfinder] to establish any assumptions reflected in the

summary.”” United States v. Nguyen, 504 F.3d 561 (5th Cir. 2007) (quoting United States v. Hart,

295 F.3d 451, 454 (5th Cir. 2002)).

         The White Declaration states, during his time at OAG, Mr. White has “reviewed hundreds

of investigations and handled approximately 100 prosecutions, many of which were complex[.]”

White Decl. ¶ 3. During his August 2023 deposition, Mr. White testified that his investigative

experience formed “a large portion of” the basis for the knowledge of the topics addressed in his

Declaration. ECF No. 992-24, White Dep. at 71:8–21. Based on that experience, the White

Declaration repeatedly makes summary statements about alleged mail ballot and voter-assistance

fraud schemes. White Decl. ¶ 6. For example, the Declaration:

         •   Provides a breakdown of the proportion of investigations and prosecutions in his office
             dealing with “mail-in ballot fraud,” “illegal voting, and voter assistance.” Id. ¶ 7.

         •   Summarizes what, in Mr. White’s estimation, are “common” features of alleged mail
             ballot fraud, vote harvesting fraud, and voter assistance fraud schemes. Id. ¶¶ 7–17,
             24–31, 34–38, 40, 42–45.

         •   Notes what Mr. White believes are “common” features (e.g., id. ¶¶ 6, 7, 20, 27–30) or
             phenomena that “often” (e.g., id. ¶¶ 14, 15, 25, 29, 35, 38), “normally” (e.g., id. ¶¶ 11–
             12, 14, 39, 45), “usually” (e.g., id. ¶¶ 11, 14), or “typically” (e.g., id. ¶¶ 13, 25, 45)
             occur.

Despite the summary nature of these assertions, the State Defendants withheld as privileged

underlying information that is non-public and failed even to identify investigation or prosecution

files relating to both active and closed investigations. 12 Because this “supporting evidence must


12
  To the extent that the State Defendants assert any privilege over that information, the sword-and-shield doctrine bars
their reliance on the summary testimony of for its defense.


                                                          16
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 17 of 23




have been ‘presented previously,’” the State Defendants cannot now rely on summary testimony

in the White Declaration. Nguyen, 504 F.3d at 572.

       Further, Mr. White’s summary testimony “exceed[s] the bounds of Rule 1006 because [he]

stated that [his] testimony was premised, in part, on out-of-court statements” not presented to the

factfinder and information that is not even within Mr. White’s personal knowledge. Id. Rather, his

summary is informed by conversations with investigators and prosecutors. Mr. White had no role

in investigating allegations of voter fraud and generally referred cases to other attorneys for

prosecution. When deciding to move forward with the prosecution of a matter referred by the

Criminal Investigations Division, Mr. White would make a decision “fairly quickly” and then

“would refer the file to the prosecutor and connect him with the investigator.” ECF No. 992-24,

White Dep. at 29:16–24. When asked about “[h]ow much of an investigative file [came] to [his]

attention,” Mr. White testified that he might see the report written by an investigator, or he “might

just verbally be told about election records that were obtained,” or “might be told about . . . witness

interviews or things that the investigator had learned or researched.” Id. at 26:22–27:11. Indeed,

Mr. White acknowledged that he “didn’t always need to read an entire investigative report if one

was provided,” as “a lot of it would be based on the conversation . . . with the investigator so I

could cut to the chase. Especially if the investigator . . . wasn’t that good of a writer, I might get

the information out of him just via conversation.” Id. at 27:25–28:13. He also testified that he

learned about the outcomes of an investigator’s efforts “[g]enerally” through “one-on-one

conversations.” Id. at 20:8–17.

       Accordingly, the Court concludes that the summary testimony in the White Declaration

must be stricken because it is unsupported by evidence “presented previously” to the factfinder

and relies on hearsay statements. See Nguyen, 504 F.3d at 572 (district court erred by admitting




                                                  17
       Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 18 of 23




testimony by FBI financial analyst summarizing her investigation and authenticated summary

chart describing the operation because “her testimony was premised, in part, on out-of-court

statements that unspecified witnesses made to FBI agents during the investigation”); cf. United

States v. Valencia, 600 F.3d 389, 417–18 (5th Cir. 2010) (no violation of Rule 1006 where

government provided opposing counsel with underlying records one month before trial).

               3.      Objections to Improper Opinion Testimony

       The LUPE Plaintiffs assert that the White Declaration contains improper lay opinion

testimony that must be excluded under under Federal Rules of Evidence 701 and Federal Rule of

Civil Procedure 56(c)(4) because it not based on his “direct and particularized” personal

knowledge and observations.

       Although the State Defendants identified Mr. White as a lay witness, “it is the content of

testimony, not a witness’s formal designation as an expert witness, which determines whether Rule

702 applies.” Carlson v. Bioremedi Therapeutic Sys., Inc., 822 F.3d 194, 198 (5th Cir. 2016). “A

lay witness’s “testimony in the form of an opinion is limited to one that is . . . not based on

scientific, technical, or other specialized knowledge within the scope of Rule 702.” In re: Taxotere

(Docetaxel) Prod. Liab. Litig., 26 F.4th 256, 264–65 (5th Cir. 2022) (quoting FED. R. EVID.

701(c)).

       “Under [Federal Rule of Evidence] 701, a lay opinion must be based on personal

perception, must be one that a normal person would form from those perceptions, and must be

helpful to the” factfinder. United States v. El-Mezain, 664 F.3d 467, 511 (5th Cir. 2011) (quoting

United States v. Riddle, 103 F.3d 423, 428 (5th Cir. 1997)). “Testimony need not be excluded as

improper lay opinion, even if some specialized knowledge . . . was required,” but the testimony

still must be “based on first-hand observations in a specific investigation.” El-Mezain, 664 F.3d at




                                                18
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 19 of 23




514 (emphasis added). Thus, “the witness must have personalized knowledge of the facts

underlying the opinion and the opinion must have a rational connection to those facts.” In re:

Taxotere, 26 F.4th at 265 (quoting Miss. Chem. Corp. v. Dresser-Rand Co., 287 F.3d 359, 373

(5th Cir. 2002)). Such personal knowledge must be “direct and particularized,” DIJO, Inc. v. Hilton

Hotels Corp., 351 F.3d 679, 686 (5th Cir. 2003), and “it has always been the rule that lay opinion

testimony may be elicited only if it is based on the witness’s first-hand knowledge or

observations,” id. at 685.

       Mr. White’s statements about the methods and prevalence of voter fraud, the efficacy of

pre-SB1 investigative techniques and the extent to which S.B. 1 aids in combating voter fraud “did

not merely draw straightforward conclusions from observations informed by his own experience,”

United States v. Riddle, 103 F.3d 423, 429 (5th Cir. 1997) (emphasis added). Instead, as discussed

above, Mr. White’s “knowledge” relies on one-on-one conversations with investigators and

cursory reviews of their case files—he was not personally involved in any of the specific

investigations he mentioned.

       The lay opinions in the White Declaration must be stricken because they are not based on

personal knowledge and rely on inadmissible hearsay. See FED. R. CIV. P. 56(c)(4) (requiring that

affidavit used to “oppose a motion must be made on personal knowledge” and “set out facts that

would be admissible in evidence”); cf. El-Mezain, 664 F.3d at 514 (testimony by FBI agents was

proper lay testimony because those agents “were extensively involved in the investigation” at

issue, and “their testimony was either descriptive or based on their participation in, and

understanding of, the events in” that case). Mr. White’s opinions “cannot be admitted under Rule

701 because [they are] not based on personal knowledge and would instead have to be based on

specialized knowledge.” Metro Hosp. Partners, Ltd. v. Lexington Ins. Co., 84 F. Supp. 3d 553, 564




                                                19
       Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 20 of 23




(S.D. Tex. 2015). Because the State Defendants seek to rely on Mr. White’s “specialized

knowledge,” “not simply lay opinion testimony based on his perceptions,” the White Declaration

cannot be lay opinion testimony. See In re: Taxotere, 26 F.4th at 267; see also FED. R. EVID. 701.

       In other words, Mr. White’s opinion testimony would only be admissible as expert

testimony. Unlike an ordinary witness, an expert is permitted wide latitude to offer opinions,

including those that are not based on firsthand knowledge or observation. Daubert v. Merrell Dow

Pharms., Inc., 509 U.S. 579, 592 (1993) (citing FED. R. EVID. 701–703). Mr. White was never

designated as an expert witness, however, and his opinions would not otherwise satisfy the

reliability requirements for expert testimony set forth in Federal Rule of Evidence 702 and

Daubert.

       Rule 702 provides that an expert testimony may testify only if, among other things, “the

testimony is based on sufficient facts or data” and “the testimony is the product of reliable

principles and methods[.]” FED. R. EVID. 702(b) and (c). “The reliability inquiry entails a

preliminary assessment of whether the reasoning or methodology underlying the testimony is

scientifically valid and can be properly applied to the facts in issue.” Holcombe v. United States,

516 F. Supp. 3d 660, 673 (W.D. Tex. 2021). Regardless of whether an expert witness is “well-

qualified by experience,” the expert’s testimony “still may be barred if it is not based on sound

data.” Montgomery Cnty. v. Microvote Corp., 320 F.3d 440, 448 (3d Cir. 2003) (citing Kumho Tire

Co. v. Carmichael, 526 U.S. 137, 153 (1999)).

       Of course, the LUPE Plaintiffs have been handicapped in their efforts to address

deficiencies in Mr. White’s testimony based on the State Defendants’ refusal to produce evidence

that purportedly supports his analysis. Still, based on the limited information they do have, the

LUPE Plaintiffs have identified several defects in the accuracy and reliability of Mr. White’s




                                                20
        Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 21 of 23




analysis. As the LUPE Plaintiffs point out, Mr. White’s “data” about the actual prevalence of voter

fraud is skewed because his job was to review cases that had already been referred for

prosecution—he had no information about the nature and prevalence of investigations that were

not escalated to him, because they never came across his desk. See ECF No. 992, White Dep. at

18:23–19:6 (“[I]f there was a complaint that didn’t require further investigation—that didn’t merit

investigation[—] it’s unlikely that that would be brought to my attention.”); see Falcon v. State

Farm Lloyds, No. 1:12-CV-491-DAE, 2014 WL 2711849, at *13 (W.D. Tex. June 16, 2014)

(“Rather than sending a variety of samples in an attempt to evaluate the actual condition of the []

residence, [the expert] sent samples which appeared to show smoke contamination.”).

       Moreover, Mr. White’s testimony about methods of voter fraud and the efficacy of S.B. 1

in combatting voter fraud are not logically (or factually) supported by the evidence on which Mr.

White purported to base his opinion testimony. For example, in describing techniques employed

by fraudulent vote assistors, he relied on an example of a prosecution in which the defendant was

ultimately acquitted. An unsuccessful prosecution for assistance fraud cannot serve as evidence of

how assistance fraud actually occurs. Similarly, Mr. White cited the prosecution of Zul Mohamed

in support of S.B. 1’s ID-number matching requirement, concluding that had an “ID number

requirement” been in place for mail ballots—“either on the applications or ballot envelopes”—that

requirement “would have prevented this fraud scheme entirely” because “Mr. Mohamed “would

not . . . have been able to provide the identification numbers” necessary to satisfy that requirement.

White Decl. ¶ 21. But, according to an OAG press release issued October 2020, Mr. Mohamed

“allegedly obtained a virtual mailbox using a false identity, forged at least 84 voter registration

applications . . . ., and had them sent to a fraudulent location.” ECF No. 992-25 at 2 (emphasis

added). Texas has required new voter registration applicants to include an ID number on their




                                                 21
       Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 22 of 23




application since 2004. To have registered voters, then, Mr. Mohamed necessarily must have had

access to their ID numbers. It follows that S.B. 1’s ID-number provisions would have done nothing

to identify or prevent Mr. Mohamed’s fraud—he could readily reproduce the same ID numbers on

applications to vote by mail and mail-in ballots.

       Even if Mr. White had been properly designated as an expert witness in this case, because

his testimony is based on incomplete and inaccurate information and faulty reasoning, his

testimony about both the characteristics of voter fraud and any measures that would address such

fraud would be inadmissible under Rule 702 and the Daubert framework.

               4.      Objections to Impermissible Legal Conclusions

       The LUPE Plaintiffs assert that the White Declaration contains impermissible legal

conclusions ECF No. 922 at 34 (citing White Decl. ¶¶ 6, 31, 41–42, 48 (generally opining that S.B.

1’s ID requirement is reasonably calculated and necessary to serve the State’s interest in election

integrity, despite the many difficulties in identifying, proving, and prosecuting instances of voter

fraud)). Expert and lay witnesses alike are prohibited from providing opinions on legal issues. See

Renfroe v. Parker, 974 F.3d 594, 598 (5th Cir. 2020); El-Mezain, 664 F.3d at 511. “[T]estimony

that amounts to a legal conclusion is improper.” United States v. Keys, 747 F. App’x 198, 207 (5th

Cir. 2018). The Court agrees that the challenged paragraphs constitute inadmissible legal

conclusions and must be stricken from the record of this case.

                                         CONCLUSION

       The LUPE Plaintiffs’ motion to strike (ECF No. 992) the declaration of Jonathan White is

GRANTED.

       The declaration of Jonathan White (ECF No. 645-5 at 14–23; ECF No. 646-3 at 29–38) is

STRICKEN from the record of this case.




                                                22
       Case 5:21-cv-00844-XR Document 1128 Filed 04/29/24 Page 23 of 23




      The Clerk is DIRECTED to REPLACE both documents with the redacted version

docketed at ECF No. 992-1.

      It is so ORDERED.

      SIGNED this 29th day of April, 2024.



                                         _________________________________
                                         XAVIER RODRIGUEZ
                                         UNITED STATES DISTRICT JUDGE




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